 MiUNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ALLSTATE INSURANCE COMPANY,                                              Docket No.: 24-cv-2123

                                              Plaintiff,
                                                                          COMPLAINT
         -against-

 HELENE BRAUN, JACOB BRAUN, JONATHAN,
 BRAUN, MIRIAM HURWITZ, and YITZCHOK WOLF,

                                              Defendants.

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          Plaintiff, Allstate Insurance Company (“Allstate”) by and through its attorneys, Lewis Johs

Avallone Aviles, LLP, alleges upon information and belief as follows:

                                       NATURE OF THE ACTION

    1.     This is a declaratory judgment action. Allstate seeks a declaration that no insurance

coverage is available under an Allstate Auto Policy issued to Helene Braun and Jacob Braun for

the theft of a 2022 Lamborghini owned by Yitzchok Wolf and loaned to Jonathan Braun and

Miriam Hurwitz.

                                                   PARTIES

    2.     At all times hereinafter mentioned, Plaintiff, Allstate, was and is an insurance company

duly organized and existing under and by virtue of the laws of the State of Illinois, and duly

authorized to issue policies of insurance within the State of New York, including the policy at issue

herein.

    3.     At all times hereinafter mentioned, Defendant, Helene Braun, was and is a natural person

over the age of eighteen (18) years, currently residing at 4 Calle Lirior, Carolina, Puerto Rico,

00984, apartment 3.
   4.    At all times hereinafter mentioned, Defendant, Jacob Braun, was and is a natural person

over the age of eighteen (18) years, currently residing at 4 Calle Lirior, Carolina, Puerto Rico,

00984, apartment 3.

   5.    At all times hereinafter mentioned, Defendant, Jonathan Braun, was and is a natural

person over the age of eighteen (18) years, currently residing at 2115 Pacific Boulevard, Atlantic

Beach, New York 11509.

   6.    At all times hereinafter mentioned, Defendant, Miriam Hurwitz, was and is a natural

person over the age of eighteen (18) years, currently residing at 2115 Pacific Boulevard, Atlantic

Beach, New York 11509.

   7.    At all times hereinafter mentioned, Defendant, Yitzchok Wolf, was and is a natural person

over the age of eighteen (18) years, currently residing at 1001 S. Main Street, Kalispell, Montana

84095.

                                 JURISDICTION AND VENUE

   8.    This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §1332

as Plaintiff is a citizen of Illinois, Defendants Jacob and Helene Braun are citizens of Puerto Rico,

Defendants Jonathan Braun and Miriam Hurwitz are citizens of New York and Defendant Yitzchok

Wolf is a citizen of Montana.

   9.    Venue of this action in this Court is proper pursuant to 28 U.S.C. §1391(1) as Defendants

Jonathan Braun and Miriam Hurwitz reside in this District.

                                    BACKGROUND FACTS

   10.   The instant declaratory judgment action arises out of the theft of a 2022 Lamborghini

Urus owned by Yitzchok Wolf on or about October 29, 2022.
   11.    Prior to the theft, on or about June 15, 2022, Yitzchok Wolf had loaned the vehicle to

Jonathan Braun pursuant to a Loaner Agreement. A true and accurate copy of the Loaner

Agreement is annexed hereto as Exhibit “A.”

   12.    At the time of the theft, Jonathan Braun was living with his wife, Miriam Hurwitz at 583

Grant Place, Cedarhurst, New York.

   13.    Upon information and belief, the Lamborghini, along with two other vehicles, was stolen

from 583 Grant Place, Cedarhurst, New York, in the early morning hours of October 29, 2022.

   14.    After the theft, Jonathan Braun sought coverage for the Lamborghini under an Allstate

Auto Policy issued to his parents, Jacob and Helene Braun.

   15.    At all relevant times, Jacob and Helene Braun resided in Puerto Rico.

   16.    Jacob and Helene Braun never resided at 583 Grant Place, Cedarhurst, New York.

   17.    After investigating the theft claim, Allstate denied coverage for the theft of the

Lamborghini. A true and accurate copy of Allstate’s denial of coverage is annexed hereto as

Exhibit “B.”

   18.    The Lamborghini has never been recovered.

                                  THE INSURANCE POLICY

   19.    Allstate issued an Auto Policy (Form AU131-3) with policy number ending in 2443 to

Helene and Jacob Braun. A certified copy of the Allstate policy is annexed hereto as Exhibit “C.”

   20.    The Allstate Policy was in effect at all times mentioned herein.

   21.    The Allstate Policy includes the following pertinent language:

         Part I – Automobile Liability Insurance
         Bodily Injury – Coverage AA
         Property Damage – Coverage BB
         We will pay for all damages an insured person is
         legally obligated to pay – because of bodily injury or
         property damage meaning:
(1) bodily injury, sickness, disease or death to
    any person, including loss of services; and

(2) damage to or destruction of property, including
    loss of use.

Under these coverages, your policy protects an
insured person from claims for accidents arising out
of the ownership, maintenance or use, loading or
unloading of an insured auto.

We will not pay any punitive or exemplary damages,
fines or penalties under Bodily Injury Liability
Coverage or Property Damage Liability Coverage.

We will defend an insured person sued as the result
of an auto accident, even if the suit is groundless or
false. We will choose the counsel. We may settle any
claim or suit if we believe it is proper. We will not
defend an insured person sed for damages which
are not covered by this policy.

               *      *       *

Insured Persons
(1) While using your insured auto:
    (a) you;
    (b) any resident; and
    (c) any other person using it with your permission.

(2) While using a non-owned auto:
    (a) you,
    (b) any resident relative using a four-wheel private
        passenger auto or utility auto.

(3) Any other person or organization liable for the use of an
    insured auto if the auto is not owned or hired by this
    person or organization.

Insured Autos
(1) Any auto described on the Policy Declarations. This
    includes the four-wheel private passenger auto or utility
    auto you replace it with.

(2) An additional four-wheel private passenger auto or
    utility auto you become the owner of during the
   premium period. This auto will be covered if we insure all
   other private passenger autos or utility autos you own.
   You must, however, tell us within 60 days of acquiring
   the auto. You must pay any additional premium.

(3) A substitute four-wheel private passenger auto or utility
    auto, not owned by your or a resident, being temporarily
    used while your insured auto is being serviced or
    repaired, or if your insured auto is stolen or destroyed.

(4) A non-owned auto used by you or a resident relative
    with the owner’s permission. This auto must not be
    available or furnished for the regular use of an insured
    person.

(5) A trailer while attached to an insured auto. The trailer
    must be designed for use with a private passenger auto
    or utility auto. This trailer can’t be used for business
    purposes with other than a private passenger auto or
    utility auto.

Definitions

       *       *       *

(4) “Resident” – means a person who physically resides in
    your household with the intention of continuing
    residence there. We must be notified of all residents of
    your household. Your unmarried dependent children
    while temporarily away from home will be considered
    residents if they intend to resume residing in your
    household.

       *       *       *

(6) “You” or “Your” – means the policyholder named on the
    Policy Declarations and that policyholder’s resident
    spouse.

       *       *       *

Exclusions – What Is Not Covered
This coverage does not apply to liability for:

       *       *       *
         (6) Injury to or destruction of property an insured person
             owns, is in charge of, or rents. However, a private
             residence or a garage rented by that person is covered.

                  *      *       *

See Ex. C.

   22.       The Allstate Policy also affords Auto Comprehensive Insurance coverage, as provided in

the following relevant language:

   Part V – Protection Against Loss To
   The Auto_________________________________________
   The following coverages apply when indicated on the Policy
   Declarations. Additional payments, autos insured, definitions,
   exclusions, and other information applicable to all these
   coverages appear beginning on page 19.

                  *      *       *

   Auto Comprehensive Insurance – Coverage HH
   We will pay for loss to your insured auto or a non-owned
   auto not caused by collision. Loss caused by missiles, falling
   objects, fire, theft or larceny, explosion, earthquake,
   windstorm, hail, water, flood, malicious mischief or
   vandalism, and riot or civil commotion is covered. Glass
   breakage, whether or not caused by collision, and collision
   with a bird or animal is covered.

   The deductible amount will not be subtracted from the loss
   payment for loss to window glass if full coverage is
   indicated as applicable on the Policy Declarations.

         *        *      *

         Insured Autos
         (1) Any auto described on the Policy Declarations. This
             includes the four-wheel private passenger auto or utility
             auto you replace it with if the auto being replaced has
             been insured for physical damage coverage for at least
             12 months. Coverage will apply to the replacement auto
             for three days beginning on the day you acquire it. The
             three days shall be consecutive, but won’t consider
             Saturdays, Sundays or legal holidays. After this three day
             period, coverage won’t apply until you tell us of the
   replacement auto and request coverage for it. You must
   pay any additional premium.

(2) An additional four-wheel private passenger auto or
    utility auto you become the owner of during the
    premium period. This auto will be covered if we insured all
    other private passenger autos or utility autos you own.
    You must, however, tell us of acquiring the auto and
    request coverage before coverage will be effective. You
    must pay any additional premium.

(3) A substitute four-wheel private passenger auto or utility
    auto, not owned by you or a resident, temporarily used
    with the permission of the owner while your insured auto
    is being serviced or repaired, or if your insured auto is
    stolen or destroyed.

(4) A non-owned four-wheel private passenger auto used by
    you or a resident relative with the owner’s permission.
    This auto must not be available or furnished for the
    regular use of you or any resident.

(5) A trailer while attached to an insured auto. This trailer
    must be designed for use with a private passenger auto.
    This trailer can’t be used for business purposes with
    other than a private passenger auto or utility auto.
    Home, office, store, display, or passenger trailers, travel-
    trailers, or camper units are not covered unless
    described on the Policy Declaration.

Definitions

       *       *       *

(5) “Resident” – a person who physically resides in your
    household with the intention of continuing residence
    there. We must be notified of all residents of your
    household. Your unmarried dependent children while
    temporarily away from home will be considered
    residents if they intend to resume residing in your
    household.

       *       *       *

(9) “You” or “Your” – means the policyholder named on the
    Policy Declarations and that policyholder’s resident
              spouse.

                 *      *      *

See, Ex. C.

   23.   The Allstate Auto Policy only provides Comprehensive Coverage for loss or damage to

an “insured auto.” See, Ex. C.

   24.   The Allstate Auto Policy only provides Liability Coverage for loss arising out of the use

or operation of an “insured auto” by an “insured person.”

   25.   Helene Braun and Jacob Braun are the only named insureds listed on the Declarations

Page of the Allstate Policy. See, Ex. C.

                            AS AND FOR A FIRST CAUSE OF ACTION

   26.   Allstate repeats, reiterates and realleges each and every allegation set forth in the

preceding paragraphs as if more fully set forth herein.

   27.   The Allstate Auto Policy only provides Comprehensive Coverage for loss or damage to

“insured autos” and liability coverage for accidents arising out of the use of an “insured auto.”

   28.   The Lamborghini is not listed on the Allstate Policy Declarations as an insured auto.

   29.   The Lamborghini was not obtained by Helene Braun or Jacob Braun as a replacement for

a vehicle listed on the Allstate Policy Declarations.

   30.   Helene Braun and Jacob Braun did not become the owners of the Lamborghini within the

relevant premium period of the Allstate Policy.

   31.   The Lamborghini is not a substitute auto being used while Helene Braun’s or Jacob

Braun’s vehicles were being serviced or repaired or while they were stolen or destroyed.

   32.   The Lamborghini is not a trailer attached to an insured auto.
    33.     In order for a non-owned auto to qualify as an “insured auto” it must be used by the

named insureds or a resident relative.

    34.     Helene Braun and Jacob Braun are the only named insureds on the Allstate Auto Policy.

    35.     Jonathan Braun and Miriam Hurwitz, are relatives of the named insureds but do not reside

in their household.

    36.     The Lamborghini is not an “insured auto” as defined in the Allstate Policy.

    37.     Since the Lamborghini is not an “insured auto,” the Allstate Auto Policy does not afford

coverage for its theft.

                          AS AND FOR A SECOND CAUSE OF ACTION

    38.     Allstate repeats, reiterates and realleges each and every allegation set forth in the

preceding paragraphs as if more fully set forth herein.

    39.     The Allstate Auto Policy only provides liability coverage for the liability of “insured

persons.”

    40.     At the time of the theft of the Lamborghini, Jonathan Braun and Miriam Hurwitz were

not named as insureds on the Allstate Policy Declarations.

    41.     At the time of the theft of the Lamborghini, Jonathan Braun and Miriam Hurwitz were

not residents of Helene and Jacob Braun’s household.

    42.     At the time of the theft of the Lamborghini, Jonathan Braun and Miriam Hurwitz were

not liable for the use of an insured auto.

    43.     Jonathan Braun and Miriam Hurwitz do not qualify under any of the definitions of

“insured person” in the Allstate Policy.

    44.     Since Jonathan Braun and Miriam Hurwitz are not insured persons under the Allstate

Auto Policy, there is no coverage for their liability for the theft of the Lamborghini.
                        AS AND FOR A THIRD CAUSE OF ACTION

   45.   Allstate repeats, reiterates and realleges each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

   46.   The Allstate Policy excludes liability coverage for injury or destruction of property an

insured person owns, is in charge of, or rents. See, Ex. C.

   47.   Even if Jonathan Braun and Miriam Hurwitz were insured persons, liability coverage

would be excluded for the theft of the Lamborghini, as it was property rented to Jonathan Braun

and Miriam Hurwitz.

   48.   Allstate requests an Order from this Court declaring and adjudging that under and

pursuant to the terms of the Allstate Auto Policy issued to Helene and Jacob Braun, there is no

coverage for the theft of the Lamborghini.

   49.   The Plaintiff has no adequate remedy at law.

   50.   There is an actual dispute between the parties with respect to the rights and obligations

pursuant to the policy of insurance issued to Helene and Jacob Braun.

         WHEREFORE, it is respectfully requested that this Court issue an Order declaring and

adjudging:


         a. There is no Comprehensive Coverage under the Allstate Auto Policy for the theft of
            the Lamborghini owned by Yitzchok Wolf;

         b. There is no coverage under the Allstate Auto Policy for the liability of Jonathan Braun
            and Miriam Hurwitz for the theft of the Lamborghini owned by Yitzchok Wolf;

         c. The Lamborghini is not an “insured auto” as that term is defined in the Allstate Auto
            Policy;

         d. Jonathan Braun and Miriam Hurwitz are not “insured persons” as that term is defined
            in the Allstate Auto Policy with respect to the theft of the Lamborghini; and
For such other and further relief as this Court deems just and proper.

Dated: Islandia, New York
       March 21, 2024

                                      Yours, etc.,

                                      LEWIS JOHS AVALLONE AVILES, LLP

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